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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


  SUREFUNDING, LLC
  a Delaware limited liability company,

                  Plaintiff,
  v.                                                 CIV. A. NO. 22–10478
  GOODWIN PROCTER LLP,
  A Massachusetts limited liability partnership

                  Defendant.


                JOINT MOTION TO EXTEND DEADLINE FOR
       DEFENDANT TO ANSWER OR OTHERWISE RESPOND TO COMPLAINT

       Plaintiff SureFunding, LLC (“Plaintiff”) and Defendant Goodwin Procter LLP

(“Defendant”) move pursuant to Fed. R. Civ. P. 6(b) to extend the deadline for Defendant to answer

or otherwise respond to the Complaint. In support of this Motion, the parties state as follows:

       1.      The Complaint was filed on March 30, 2022. On April 27, 2022, Plaintiff’s

counsel, Ilyas J. Rona of Milligan Rona Duran & King LLC, served Defendant’s counsel, Richard

M. Zielinski of Goulston & Storrs PC, with the Complaint by e-mail. In his e-mail, Mr. Rona

included a Waiver of Service form, which Mr. Zielinski signed and return the same day.

       2.      Pursuant to Defendant’s waiver of service, Goodwin must answer or otherwise

respond to the Complaint by June 27, 2022.

       3.      The parties are currently engaged in discussions that may make it unnecessary for

Defendant to respond substantively to the Complaint. Two additional weeks should give the

parties an opportunity to consummate those discussions.

       4.      On June 27, 2022, counsel for Plaintiff and counsel for Defendant met and

conferred as to this Motion. The parties agreed to jointly file this Motion.
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         For the above-stated reasons, the parties respectfully request that the Court grant this Joint

Motion to Extend the Deadline for Defendant to Answer or Otherwise Respond to the Complaint

by two weeks (until July 11, 2022).

                                                /s/ Richard Zielinski
                                                Richard Zielinski (Bar No. 540060)
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                                                /s/ Michael J. Duran
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                                 CERTIFICATE OF SERVICE

       I certify that on the 27th of June 2022 I caused a copy of the foregoing Joint Motion to be

served via the court’s electronic filing system to the following counsel of record:

        Michael J. Duran, Esq.
        Ilyas J. Rona, Esq.
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        ijr@mrdklaw.com
        mjd@mrdklaw.com
        Counsel for SureFunding, LLC

I certify under penalty of perjury that the foregoing is true and correct.




                                               s/ Abigail E. Fletes
                                               Abigail E. Fletes


Executed on June 27, 2022
